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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. 1:07-cr-00016-AWI-4

12                      Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
                                                        DEADLINE FOR FILING RESPONSE;
13          v.                                          ORDER

14   JESUS GONZALEZ PEREZ,

15                      Defendant.                      Judge: Honorable ANTHONY W. ISHII

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s February 11, 2015 order be
18   extended to April 8, 2015. The undersigned is awaiting response from Mr. Perez. Counsel for
19   the government, Assistant U.S. Attorney Kathleen A. Servatius, graciously indicated that she has
20   no objection.
21   Dated: March 9, 2015
22                                                        Respectfully submitted,
23                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
24

25                                                        /s/ David M. Porter
                                                          DAVID M. PORTER
26                                                        Assistant Federal Defender
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 1
                                                  ORDER
 2
             Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of February 11, 2015, may be filed on or before April 8,
 4
     2015.
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 6   IT IS SO ORDERED.
 7   Dated: March 9, 2015
 8                                               SENIOR DISTRICT JUDGE

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